Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 1 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 2 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 3 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 4 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 5 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 6 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 7 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 8 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 9 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 10 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 11 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 12 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 13 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 14 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 15 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 16 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 17 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 18 of 19
Case 4:01-cv-00291-BRW Document 2 Filed 05/14/01 Page 19 of 19
